                                        IN THE UNITED STATES BANKRUPTCY COURT
                                             FOR THE DISTRICT OF DELAWARE


       In re:                                                          Case No. 22-11068

       FTX TRADING LTD., et al.,                                       Chapter 11

                                             Debtors.                  (Jointly Administered)

                          NOTICE OF TRANSFER OF CLAIM OTHER THAN FOR SECURITY

 A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. §1111 (a). Transferee hereby gives notice
 pursuant to Rule 3001(e) (1), Fed. R. Bankr. P., of the transfer, other than for security, of the claim referenced in this notice.

              CONTRARIAN FUNDS, LLC                                     [REDACTED] [CUSTOMER CODE 02030693]
              Name of Transferee                                        Name of Transferor

              Address for all Communications/Notices:                   Address:
              CONTRARIAN FUNDS, LLC                                     c/o Contrarian Funds, LLC
              411 WEST PUTNAM AVE., SUITE 425                           Attn: 392426
              GREENWICH, CT 06830                                       500 Ross St 154-0455
              ATTN: ALPA JIMENEZ                                        Pittsburgh, PA 15262
              Phone: 203-862-8259
              Fax:    203-485-5910
              Email: tradeclaimsgroup@contrariancapital.com

              Address for all Payments/Distributions:
              CONTRARIAN FUNDS, LLC
              ATTN: 392426
              500 ROSS ST 154-0455
              PITTSBURGH, PA 15262



Schedule/Claim No.           Creditor Name                      Amount                            Debtor                     Case No.
 Unique Customer               [Redacted]            [As stated on Schedule F          FTX Trading Ltd.                   22-11068
      Code:                                          (below)]
    02030693

 I declare under penalty of perjury that the information provided in this notice is true and correct to the best of my knowledge
 and belief.

       By:_______/s/ Alpa Jimenez _________                             Date: April 17, 2023
              Transferee/Transferee’s Agent

    Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
